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EXHIBIT |
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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

IN RE: BENICAR
(OLMESARTAN) PRODUCTS MDL No. 2606
LIABILITY LITIGATION

 

HON. ROBERT B. KUGLER
THIS DOCUMENT RELATES TO ALL
CASES

 

 

 

 

RULE 26 EXPERT REPORT OF STEPHEN LAGANA, M.D.
REGARDING GENERAL CAUSATION

I. Background and Qualifications

lam a gastrointestinal and liver pathologist at the Columbia University Medical Center in
New York, NY. I graduated medical school from the University Of Pittsburgh School Of
Medicine in 2008. I performed a residency in anatomic pathology at Columbia University
Medical Center from 2008-2011 (and was Chief Resident from 2010-2011). | performed
GI/Liver/Surgical Pathology fellowship from 2011-2012 and was subsequently hired as faculty.
One of my prime areas of interest has been inflammatory disorders of the small intestine. My
practice includes nine months per year of clinical service, of which six include frequent small
intestinal biopsies (approximately 10 per day). I work closely with the Celiac Disease Center at
Columbia University, and review approximately 100 cases per year outside of my routine
practice, at their request. These cases are typically complicated or diagnostically uncertain, and
are frequently presented at interdisciplinary conferences to allow for in-depth discussion of both
clinical and pathological considerations. Through these experiences, | have personally reviewed
or diagnosed numerous cases of olmesartan associated enteropathy (OAE).

Inflammatory conditions of the small intestine also constitute one of my major research
interests. | am familiar with the peer reviewed literature in this field. I have published a number
of primary research studies and review articles on such disorders.'*74° [ have also presented
related research endeavors to national and international audiences.°”*” I was the senior author of
a review article on OAE. My background and experience is set forth as well in my curriculum
vitae, attached as Exhibit 1.
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II. Scope of Report

You have asked me to provide my opinions as to whether olmesartan medoxomil,
marketed under the trade names Benicar, Benicar HCT, Azor, and Tribenzor (collectively
referred to in this report as “olmesartan” or “Benicar”), causes organic changes to the small
intestine, including villous atrophy, and the condition now known as OAE, or olmesartan
enteropathy. The materials and literature primarily relied on are described herein and in the
reliance list attached as Exhibit 2. All opinions are provided to a reasonable degree of medical
certainty. | am being compensated for my time at a rate of $500/hour or $3000/half day,
$5000/full day in court or in a deposition. I have not previously testified in court or on
deposition in any lawsuit.

III]. Methodology and Literature

The diagnostic approach I take to such cases is standardized, and is the approach utilized
in my clinical practice, in connection with the studies I have authored in the peer-reviewed
medical literature, and presentations given at major professional meetings. | start with the
review of very basic clinical information (generally limited to the presenting symptom; e.g.
diarrhea). I then begin my slide review.

Each slide is first assessed on low power (40X magnification). The first question to
answer is tissue orientation. To determine this fact, | aim to identify a tissue fragment (or
fragments) in which the luminal surface and muscularis mucosae are both visible, and that these
two landmarks are displayed in a generally parallel configuration. When a piece fits this
description, the next step is the analysis of the crypts and villi (finger-like projections which
increase surface area for nutrient absorption). I look for 4 consecutive crypt and villous units
which are well oriented, defined as running perpendicularly to the aforementioned luminal
surface and muscularis mucosae. In the normal state, the villous should be approximately four
times taller than the crypt is deep. If no villi are present (as in cases of villous atrophy), then the
crypts alone can suffice for this purpose. If 1 cannot identify a region that fulfills the criteria
described above, then I cannot assess the presence or absence of villous atrophy and will include
a comment to that effect in my reports. If 1 state that the villi are atrophic/normal/something in
between, then this implies that I did identify well-oriented tissue fragments.

When this low-power assessment is complete, a medium (100X% magnification) and high
power (200-400X magnification) examination is performed. The purpose of the higher power
examination is to identify patterns of inflammation (if present) and to exclude the presence of an
identifiable pathogen. Inflammatory patterns may be subjective or objective. For instance,
neutrophils (a white blood cell which is part of the acute inflammatory response) are always
abnormal in the intestinal epithelium. Therefore, if they can be identified with certainty, then
that is an objective finding which does not truly lend itself to inter-observer disagreement.
Another objective measure is the density of intraepithelial lymphocytes (these are a different

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type of white blood cell which are part of chronic inflammation which have migrated into the
epithelium). Throughout the small intestine, we have an upper limit of normal (which varies
from 20-40 intraepithelial lymphocytes per 100 epithelial cells depending on the location in the
small intestine), If one can count more than this (which can be accurately estimated with
experience), then there is intraepithelial lymphocytosis and inter-observer disagreements, should
they occur, can be resolved by simple counting. Some experts employ further testing (i.e.
immunohistochemical stains) to identify intraepithelial lymphocytes, whereas others do not.
Either approach is scientifically accepted, and one’s preference is dependent on the clinical
judgment of the pathologist.'".'' Such ancillary tissue testing is generally useful only in
borderline cases, and in practice I use it in <1% of my clinical cases.

There are two relatively subjective parameters which | also assess for in intestinal
biopsies. One is increased lymphocytes and plasma cells (white blood cells which indicate
chronic inflammation) and the other is increased eosinophils (white blood cells which can be part
of allergic and parasitic reactions, or be present non-specifically in acute and chronic
inflammation). These parameters are subjective because lymphocytes, plasma cells, and
eosinophils are all present in normal small intestine and there is no well-defined numerical value
which separates normal from abnormal. Having seen thousands of such biopsies, I have a
significant frame of reference for determining what is normal and what is not, This is a clinical
judgment which is employed in clinical and research settings.

During my medium and high-power review of the inflammatory components of the
biopsy, I will also be looking for more unusual patterns of injury (¢.g. granulomas, subepithelial
fibrosis) and common, but non-specific patterns (erosions/ulcers). I will also determine if the
normal numbers of all epithelial cell types are present, including goblet (mucus) cells and Paneth
(anti-microbial) cells. These cells are classically diminished in number in an extremely rare
entity termed autoimmune enteropathy (AIE), although this observation has also been made in

OAE#?

The final part of my assessment is a high power examination aimed to exclude
identifiable pathogens. This involves examining the biopsy while being mindful of where
specific pathogens are found and what they look like. It is very rare to identify pathogens in
intestinal biopsies, so the search for them is largely an exercise aimed at not overlooking the rare
case.

Having gone through the steps described above, I am left with a pattern which includes
all the data points described. Patterns are associated with different disease states, and so only
after the pattern is established can a thorough consideration of causation be embarked upon.
Although there are many patterns and associated causes, let us review the example of the pattern
seen in OAE. The typical pattern is atrophic villi, hyperplastic crypts, and increased
lymphocytes, plasma cells, and eosinophils. Other frequent, but not universal, findings include
neutrophils, intraepithelial lymphocytosis, and subepithelial fibrosis.”

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The celiac literature, which is instructive due to the similarity in its pathological
presentation to olmesartan enteropathy, recognizes that in some cases there may be a patchy, less
diffuse presentation than what is typical.'?-'* The literature also describes patients diagnosed
with OAE, with normal villi, as well as a range of intestinal abnormalities.'> In cases without
definitive pathology, the diagnosis is based on the judgment of the clinician, relying on
evaluation of the medical history and clinical course, especially the response to dechallenge (and
rechallenge if deemed necessary).'° A study which we performed at Columbia University raised
the possibility of a less severe clinical and pathologic presentation. * If a biopsy displays the
characteristic pattern described above, that brings up a number of diseases which can cause those
findings (referred to as a differential diagnosis). The most common disease which causes that
pattern is celiac disease (gluten sensitive enteropathy).'° In the United States, celiac disease
affects approximately 1% of the population, making it a highly prevalent condition. Every other
disease which causes this pattern is either extremely rare (e.g. autoimmune enteropathy-an
immune mediated destruction of the intestine which has been reported in only a few adults
globally) or the incidence is not entirely certain (e.g. OAE).'’ The diagnosis of celiac disease is
often fairly straightforward, but requires correlation between the histology and laboratory
values.'* If examine a biopsy, and the pattern fits the description above, | will review the
medical record in greater depth. If laboratory values related to celiac disease are not available, |
will typically issue a report which describes the findings (e.g. “Duodenal mucosa with total
villous atrophy, crypt hyperplasia, chronic lymphoplasmacytic inflammation, and intraepithelial
lymphocytosis.”) and then include a comment about the differential diagnosis. If | have access to
all relevant laboratory values, and they suggest celiac disease, then | can make a definitive
statement (such as “these findings are consistent with celiac disease”). When I lack necessary
data, I try to guide the next steps in evaluation (e.g. “Such findings are typical in celiac disease.
Correlation with serologic testing is suggested. If celiac disease work up is negative, other
considerations would include medication reactions (olmesartan, mycophenolate, others), and
autoimmune conditions”).

This approach allows for a reproducible process which focuses on pattern recognition and
the subsequent contextualization of the pattern identified by histologic examination. It also
suggests next steps to the gastroenterologist and informs them about the direction of my thinking
on the case. In many cases encountered in my clinical practice, a discussion with the
gastroenterologist would follow after the additional testing has been performed, but the report is
designed to be a standalone document.

Through this approach, | have diagnosed patients with intestinal inflammatory changes,
villous atrophy, and related gastrointestinal symptoms such as severe, chronic diarrhea and
weight loss, as a result of the use of olmesartan. There is no scientific controversy or dispute that
olmesartan causes the intestinal changes and resulting clinical symptoms.

The relationship between olmesartan and organic changes to the intestine, most notably
villous atrophy, is well established in the medical literature. The first significant publication
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regarding olmesartan enteropathy was published by physicians at the Mayo Clinic.'? Biopsies
were examined for each of the 22 patients described. The protocol included evaluation as
follows: “The number of intraepithelial lymphocytes per 100 epithelial cells, degree of villous
atrophy graded with the modified Marsh classification, presence of subepithelial collagen, degree
of lamina propria inflammation, and presence of acute inflammation were assessed. The
presence of aberrant or clonal intraepithelial lymphocytes was investigated by CD3 and CD8
immunostaining and polymerase chain reaction, respectively.” The findings of note were
discussed: “In all patients, baseline intestinal biopsies demonstrated villous atrophy with
variable degrees of mucosal inflammation (Table 2). Total villous atrophy was observed in 15
patients and partial villous atrophy in 7 patients. A thick band of subepithelial collagen
(collagenous sprue) was seen in 7 patients... Active/acute inflammation was observed in 15
patients, and increased intraepithelial lymphocytes were found in 14 patients. Aberrant (or
clonal) intraepithelial lymphocytes were not detected among the 12 patients tested.” In addition,
“Colonoscopy with random colonic biopsies was performed in 13 patients (59%). Microscopic
colitis was found in 5 patients (2 had lymphocytic colitis and 3 had collagenous colitis), Biopsies
of the stomach were available in 14 patients (64%). Lymphocytic gastritis was diagnosed in 5
patients and collagenous gastritis in 2 patients. Chronic gastritis was diagnosed in an additional
7 patients (1 had Helicobacter pylori infection).” These findings demonstrate the range of
findings found in patients with olmesartan enteropathy, most notably partial or total villous
atrophy and the frequent involvement of other sites in the gut. Follow up biopsy specimens were
evaluated: “At the time of this report, follow-up intestinal biopsies have been performed in 18
patients (82%) after a mean of 242.3 days (range, 54-707 days) from the date of suspension of
olmesartan. Histologic recovery of the duodenum was documented in 17 patients (Figure).
Focal partial villous atrophy was observed in | case (patient 2) on a follow-up duodenal biopsy
obtained 54 days after suspension of olmesartan.” The authors’ conclusions in this first
significant report of olmesartan enteropathy, which was necessarily conservative in discussing
association vs. causality, indicated the likely causal relationship: “Resolution of the presenting
symptoms and subsequent histologic improvement after suspension of olmesartan, in the absence
of clinical evidence of other diseases associated with enteropathy, suggest that the association is
not likely to be due to chance. “ Finally, the authors discussed aspects of the differential
diagnosis and factors useful in diagnosing olmesartan enteropathy: “Pathologic findings in the
duodenal biopsy can mimic celiac disease or collagenous sprue. Clinico-pathologic correlation
is advised to confirm the diagnosis of olmesartan-associated enteropathy. Pathologic evidence of
involvement of other organs (eg, the stomach and colon) suggests that this disorder may affect
the entire gastrointestinal tract. We provide evidence of resolution of inflammation and/or
fibrosis in the stomach and duodenum after suspension of olmesartan, implying that these
changes are associated with the use of olmesartan. Even though follow-up colonoscopies were
not performed in the 5 patients with documented microscopic colitis, clinical remission was
achieved in all of these patients, a very unlikely outcome in the presence of persistent
inflammation or fibrosis of the colon. Recovery of duodenal mucosa in a relatively short time
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(median of 8 months from suspension of olmesartan to follow-up biopsies) is a relevant clinical
observation because mucosal recovery in other small bowel disorders, such as celiac disease,
may take years to occur despite adherence to a gluten-free diet, especially in older adults.”
Finally, the authors discuss findings of small bowel bacterial overgrowth in 12 of the patients
studied. They commented on this finding as, “intriguing and consistent with prior observations
of association of small bowel bacterial overgrowth and enteropathy in symptomatic patients with
celiac disease. The reason for this association is unknown. Thus, although small bowel bacterial
overgrowth is a well-recognized cause of chronic diarrhea in the right clinical setting, in this
series, the lack of clinical response to oral antibiotics suggests that gastrointestinal symptoms are
not explained by the effects of an increased number of bacteria in the small bowel.”

This report by the group from the Mayo Clinic illustrates the importance of application of
a reasonable differential diagnosis to determine the cause of a patient’s gastrointestinal
symptoms, including the interplay between the clinical presentation and findings from intestinal
biopsy. One must evaluate the pathologic findings in the context of the clinical presentation and
course in order to exclude potential diagnoses, and to ultimately arrive at the most likely
diagnosis for the patient’s condition. The potential competing diagnoses in the context of
olmesartan enteropathy must be evaluated, and can be ruled out through factors such as a finding
of villous atrophy, partial or total, and successful dechallenge with symptoms improving and
resolving upon suspension of olmesartan. More recently, some of the same researchers from the
Mayo Clinic, and others, provided a biologically plausible mechanism for olmesartan
enteropathy, based in part on evaluation of duodenal biopsies, and concluding that there is
causality: “In summary, a small number of patients will develop enteropathy in response to
olmesartan medoxomil; this enteropathy is not gluten dependent, and both the stomach and colon
of many OAE patients are also affected in addition to the small intestine.””° Although it is still
an area of active scientific investigation; it is likely that olmesartan initiates an immune-mediated
process.”!

Following the Rubio-Tapia publication, there have been numerous case reports published
in the literature, strongly supporting causality in olmesartan enteropathy. One illustrative case
report discusses a patient with hallmark presentation and course for olmesartan enteropathy.”
The patient’s clinical and histopathological course is described in detail: “A 74-year-old
Caucasian gentleman with a history of atrial fibrillation, hypertension, and chronic obstructive
pulmonary disease was admitted for evaluation of recurrent diarrhea requiring multiple hospital
admissions. His symptoms had started a month ago and had gradually worsened, so that he had
to be admitted for severe dehydration and acute renal failure...” The patient had negative stool
examination, reported weight loss, and a family history of celiac disease, however celiac
serology was negative. “Endoscopic evaluation and biopsies were performed. Duodenum
showed focally intense acute and chronic inflammation with variable villous flattening. Although
results from CD-specific serologic testing were negative, it was thought that seronegative CD
could be a possibility. ““ The patient did not improve on a gluten-free diet and was hospitalized
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for a third time. At this point, his physicians performed a literature search, and found reference to
olmesartan enteropathy, at which point a review of medications indicated he was using
olmesartan, which was held, resulting in improvement in the diarrhea. The authors observed: “In
retrospect, the transient improvements in symptoms were associated with times during which
olmesartan was held because of acute kidney injury with relapse occurring after the drug was
resumed following normalization of renal function...Olmesartan-induced enteropathy should be
in the differential diagnosis for patients who present with severe unexplained chronic diarrhea
and weight loss.” This case report demonstrates the application of the differential diagnosis
methodology, interplay of pathology and clinical information, and the importance of dechallenge
and rechallenge outcomes, in the exclusion of alternate diagnoses and diagnosis of olmesartan
enteropathy. Numerous additional case reports provide similar data. 73,74,7° 26,27 28 29 30

In our recent systematic review, we summarize the relevant literature on this subject,
which I incorporate by reference. (Reference 2, above). We also note that, “it remains likely
that due to low awareness of this condition, patients are still being misclassified as having celiac
disease or an inflammatory disorder.” It is also important to mention that although we discuss the
few isolated reports of similar clinical and pathological presentations with other ARB’s, and
allow for the theoretical possibility that ARB enteropathy may exist, there is no consensus that
these are anything more than isolated instances, and there is no published study or article
suggesting, much less establishing a class effect. In fact, Marthey et. al. conducted a survey of
French gastroenterologists, and discovered 36 cases of OAE, compared to | case of enteropathy
associated with another ARB.** References to ARB enteropathy in the article are made in this
context. We discuss the approach to diagnosis of olmesartan enteropathy since as we stated in the
paper: “Awareness of the spectrum of clinical and histopathologic changes associated with
olmesartan use is of great importance to practicing pathologists, as it will avoid misclassification
of patients with other disorders and allow for a very simple but powerful intervention (namely,
switching antihypertensive medication).” Our discussion of the histopathologic differential
diagnosis provides a good introduction to the approach to diagnosing the condition: “there is no
cardinal finding which can establish the diagnosis of olmesartan-induced injury based solely on
histopathology. On the other hand, if one is aware that this entity exists and obtains the relevant
history, then the diagnosis is fairly straightforward in most cases.” Ultimately, we discuss the
primary competing clinical entities to be excluded in the differential diagnosis, including celiac
disease, tropical sprue, autoimmune enteropathy, inflammatory bowel disease (Crohn’s,
ulcerative colitis), and other medications (mycophenolate toxicity). Our conclusion on reaching
an ultimate diagnosis highlights the proper approach: “Although we have attempted to provide
histopathologic features which may aid in the differential diagnosis, definitive diagnosis requires
clinico-pathological correlation, highlighting the importance of effective 2-way communication
between pathologists and gastroenterologists.” * This is the approach followed at our institution,

It is important to recognize that there are reports of olmesartan enteropathy in the absence
of villous atrophy.* In fact, we investigated a cohort of patients seen in our endoscopy suite
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complaining not of severe diarrhea, but of abdominal pain. We compared patients taking
olmesartan containing medications with age and sex matched controls taking other ARBs. We
found that there was a trend towards enteropathic histologic findings in the group taking
olmesartan compared to other ARBs. This suggests there may be a spectrum of disease, both
clinically and pathologically.’

IV. Opinion

It is accepted in the medical community, including in the peer reviewed medical
literature, without controversy, that some number of patients develops inflammation, villous
atrophy, and other intestinal organic changes, and a spectrum of related gastrointestinal harm and
symptoms including for example malabsorption, dehydration, chronic diarrhea, chronic
vomiting, severe weight loss, abdominal pain, and nausea, as a result of the use of olmesartan
medoxomil. This condition is variously described as olmesartan enteropathy, olmesartan-
associated enteropathy, olmesartan-induced enteropathy, and in earlier publications, sprue-like
enteropathy. As described above, there are also reports of patients diagnosed with olmesartan
enteropathy in the absence of villous atrophy. Based on my review of and familiarity with the
peer reviewed medical literature, including articles that | have co-authored, as well as my
experience in a clinical and research setting, applying the scientifically accepted methods set
forth above, there can be no reasonable dispute that this causality exists.

Cuan HO)

 

November 30, 2016 Stephen M. Lagana, M.D.

 

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LICENSURE

 

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7/29/2011

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¢ Columbia University, New York Presbyterian Hospital, New York, NY

+ Assistant Professor of Pathology with subspecialty expertise in
gastrointestinal and Ilver pathology, Director of Quallty Assurance for
Anatomic Pathology, Co-director of Molecular Testing In Surgical Pathology

© July 2012-present

eo  Glinical responsibilities include sign out of gastrointestinal, liver,
and general surgical pathology cases as well as frozen sections
and adult autopsies

 

o Gastrointestinal case load includes hospital patients (in-patient
and out-patient), outreach cases (from community
gastroenterologists), and outside consultations

o Resident teaching activities include both formal lectures,
periodic unknown slide sessions and informal teaching at the
microscope

o Medical student teaching Including: lecturer to second year
medical students including lectures on non-neoplastic stomach
and esophagus, laboratory instructor to first year medical and
dental students on normal and abnormal histology

¢ Director of Quality Assurance, Anatomic Pathology

o Responsibilities Include setting annual QA agenda and
submitting goals and reports to Hospital and University

o Ensure compliance and successful completion of inspections by
CAP, NY State, Joint Commission
o Oversight of each division within Anatomic Pathology, consisting

of review of all QA data and periodic inspection of each
laboratory in AP

o Production of annual “report card” for each pathologist tracking
turn-around time, case load, frozen section accuracy, peer-
review, etc

o Monitor and adjudicate discrepancies with outside hospitals

 

Stephen M. Lagana, MD

 
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ao Hospital committee membership:

» Columbia Oncology Operations Council -ensure department practices comply
with published best practices from various non-pathology accrediting agencies
(e.g. NCI, American College of Surgery, etc)

= Assist in inspections by above named groups

=» Columbia Doctors Quality Committee- (Faculty Practice) - ensure that
department practices meet and exceed standards of our NY Presbyterian
physicians

a Major accomplishments in Quality Assurance

= Won approval from Graduate Medical Education Committee to claim CME
credits for daily Surgical Pathology Consensus/QA Conference, which should
result In >L000 CME credit hours being awarded to surgical pathologists with
no additional costs to the department (Co-direct course with Director of Surgical
Pathology)

= Increased percentage of randomly peer reviewed cases and re-instituted
random peer review of GYN cases

«  Instituted real-time scanning of slides and requisitions for surgical pathology
cases to ensure dictations correspond to right patient and right slide

= Electronic task verification for hospital providers to enable complete recording
of report generation and review by Initiating provider

« Co-director of Molecular Testing In Surgical Pathology
o Responsibilities include Interfacing with surgeons, endoscopists, and oncologists to
determine optimal standing order algorithm for molecular testing in various tumor
types
Operationalizing aforementioned algorithms

Establishment of ticketing system for one-off requests which are not part of an
algorithm

o Overseeing clerical staff to ensure that tissue arrives at the appropriate laboratory (in-
house or reference)

© Interface with reference labs as needed

EDUCATION

 

Columbia University Medical Center New York, NY
Fellow in Surgical and Gastrointestinal Pathology

Completed one-year fellowship combining surgical pathology and gastrointestinal/hepatic pathology July
2011-July 2012

Responsibilities included daily Independent sign out of either frozen sections, biopsies, or surgical
resections as well as participating in resident teaching, clinical conference presentations and
ongoing research projects

Columbla University Medical Center New York, NY
Anatomic Pathology Residency Program

Completed June 2011
Chief Resident 2010-2011

 

Stephen M. Lagana, MD

 
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University of Pittsburgh School of Medicine Pittsburgh, PA
Doctor of Medicine, May 2008

Hofstra University Uniondale, NY
Bachelor of Arts, Major Natural Sclence May 2004

¢ Graduated with Honors

RESEARCH

 

Peer reviewed publlcatlons:

Hemant Varma, Phyllis L. Faust, Alejandro D. Iglesias, Stephen M. Lagana, Karen Wou, Michio Hirano,
Salvatore DiMauro, Mahesh M, Mansukani, Kirsten E. Hoff, Peter L. ees William C. Copeland, Ali B.

 

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Peter, ey ne ae Sos Luna. J Julian, Abrams, Mi Liu, Randell Brand, esol L, Sepubede,

 

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Stephen M. Lagana, MD

 
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Bhagat MD, Suzanne K. Lewis MD, Peter H.R. Green MD. p enosls
ceéllac disease: one bite or two? Gastrointest Endosc. 2015 Jaa 29, pil: $0046-5107(14)02380- 3

 

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Zhou, Stephen M. Lagana, Lara Harik, Jennifer M. Se ae: Mahesh Mansulhant, Lorenzo
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Stephen M, Lagana, MD

 
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invited editorials:

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Platform presentations/ Abstracts:

The Duodenal Microblome In Refractory Cellac Disease, Type 1. Stephen M. Lagana, lan S. Cohn, Mara
R. Rubenstein, Benjamin Lebwohl, Peter H.R. Green, Govind Bhagat. 105th Annual Meeting of the United
States and Canadian Academy of Pathology, Seattle, WA, USA. 3/15/2016

Angiotensin receptor blockers other than olmesartan are not associated with histologic evidence of
duodenitis. Stephen M. Lagana, Eric Braunstein, Benjamin Lebwohl, Peter H.R. Green. 1023rd Annual
Meeting of the United States and Canadian Academy of Pathology, San Diego, CA, USA. 3/4/2014

Mutational analysis by Next Generation Sequencing of preneoplastic Intestinal metaplasia In patlents
with Barrett Esophagus from endoscople samples. Lagana, Stephen M.; Yao, Yuan; Uehara, Takeshi;
Jhala, Nirag: Ganguly, Tapan; Sepulveda, Jorge; Liu, Yang; Brand, Randall; Falk, Gary W. Sepulveda,
Antonia R. European Congress of Pathology, 2013, Lisbon, Portugal. 9/1/13.

A comparison of the Immunophenotype of hepatocellular carcinoma and non-lesional hepatocytes when
analyzed with next-generation markers. Stephen Lagana, Marcela Salamao, Fei Bao, Roger Moreira, Jay
Lefkowitch and Helen Remotti. 100" Annual Meeting of the United States and Canadian Academy of
Pathology, San Antonio, TX, USA. 3/1/2011

Poster presentations/ Abstracts:

In-Situ Hybridization for Albumin RNA In Pediatric Liver Cancers Compared to Common
{mmunohlstochemical Markers. Anne K. de Koehne de Gonzalez, Ladan Fazlollohi, Amy Coffey, Helen E.
Remotti, Stephen M. Lagana. 105" Annual Meeting of the United States and Canadian Academy of
Pathology, Seattle, WA, USA. 3/15/2016. Poster 225

Usage of Hellcobacter pylori Immunohistochemlstry Is Not Associated With the Diagnostic Rate of
Helicobacter pylori Infectlon. Jung Hoon Son, Jill Sink, Benjamin Lebwohl, Stephen M. Lagana, 104th
Annual Meeting of the United States & Canadian Academy of Pathology March 21-27, 2015 Boston, MA.

Histological Features of Colon Allograft In Intestinal Transplant Patients. Alina luga MD,Helen Remotti
MD, Stephen M. Lagana MD: Aesis M. Luna, Armando Del Portillo MD, PhD, Antonia R. Sepulveda MD,
PhD, 104th Annual Meeting of the United States & Canadian Academy of Pathology March 21-27, 2015
Boston, MA.

 

Stephen M, Lagana, MD

 
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Apoptotic Body Counts in Normal fleal Blopsies Overlap With Acute Cellular Rejection of Small-Bowel
Allogratts. Diana Sung, MD; Alina luga, MD; Helen Remotti, MD; Stephen M. Lagana, MD. Annual meeting
of the College of American Pathologists 2015 Annual Meeting (CAP '.5). Archives of Pathology &
Laboratory Medicine: October 2015, Vol. 139, No. 10, pp. e2-e186

Utility of an Immunohistochemical Panel Consisting of Glypican-3, Heat-Shock Protein-70, and
Glutamine Synthetase In the Evaluation of Hepatoblastoma. Amy Coffee, Stephen M. Lagana, Helen
Remotti. 104th Annual Meeting of the United States & Canadian Academy of Pathology March 21-27,
2015 Boston, MA.

Use of optical coherence tomography (OCT) in the evaluation of gastric dysplasia. Xu M, Lagana §, Sethi
A. Presented at Digestive Disease Week, Washington DC 2015

Clinical Characteristics, Associated Conditions, and Medication Use In Patlents With Lymphocytic
Gastritls. Frager S, Lebwohl B, Lagana SM, Green PHR, Presented at Digestive Disease Week,
Washington DC 2015

Histopathologic Outcomes In Olmesartan Related Enteropathy. Akash Goel, Benjamin Lebwohl, Christina
A. Tennyson, Suzanne K. Lewis, Carolina Arguelles-Grande, Peter H. Green, Stephen M. Lagana. Digestive
Disease Week 2014, Chicago, IL, USA. 5/4/2014.

HepPar-1 and Arginase-1 In small Intestinal and ampullary adenocarcinoma. Stephen Lagana M.D.,
Susan Hsaio, M.D., Fei Bao, M.D., Antonia Sepulveda M.D. Ph.D., Roger Moreira, M.D., Jay Lefkowitch,
M.D., and Helen Remotti, M.D. European Congress of Pathology 2013, Lisbon, Portugal. 9/1/13. Poster
046.

Endoscopic Blopsy Technique and Blopsy Orlentation In the Evaluation of Cellac Disease. Melissa
Latorre MD, Stephen M. Lagana MD, Daniel E. Freedberg MD, Benjamin Lebwohl MD, Govind Bhagat MD,
Suzanne K. Lewis MD, Peter H.R. Green MD. Digestive Disease Week 2013, Orlando, FL, USA. 8/19/13.

Bile Salt Export Pump (BSEP): A Sensitive and Specific Marker of Hepatocytic Differentiation in Liver
Tumors. Lagana SM, Remotti H, Moreira RK. 101% Annual meeting of the United States and Canadian
Academy of Pathology, Vancouver, BC, Canada. Poster #248. Tuesday, March 20, 2012.

CD146 Expression In Pleural and Peritoneal Mesothelloma. Lagana SM, Taub RN, Borczuk AC. 101°!
Annual meeting of the United States and Canadian Academy of Pathology, Vancouver, BC, Canada.
Poster #296. Wednesday, March 21, 2012.

Immunophenotypic Subtypes of Hepatic Adenomas In a Large Tertlary Care Center In the United States.
MeMillen E, Lagana SM, Bao F. 101% Annual meeting of the United States and Canadian Academy of
Pathology, Vancouver, BC, Canada. Poster #255. Tuestday, March 20, 2012.

Glutamine synthetase, Heat-shock Protein 70, and Glypican-3 in Intra- hepatic Cholanglocarcinoma. SM
Lagana, Roger K. Moreira, Helen Remotti, Fei Bao. American Socitey of Clinical Pathology. Las Vegas,
NV.October

21, 2014

Despite Warning, Gadolinium Is Safe In Patients with Liver Disease.

R F Hanna, MD, New York, NY; M R Escudero, MD; V Miloushev, MD; S

Lagana; MD; E Kulon, MD; M R Prince, MD, PhD. Radiological Society of North America, 97" Annual
meeting. Chicago, IL. November 27, 2011

MRI has greater sensitivity than 64-slice CT for detecting hepatocellular carcinoma In cirrhotic patients.

 

Stephen M. Lagana, MD

 
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Robert F Hanna, Stephen Lagana, Roger K Moreira, Inna Postolov, Jean Emond, Martin R Prince. 19th
Annual Meeting and Exhibition of the International Society of Magnetic Resonance in Medicine in
Montreal, Canada, May 20:11.

Diagnostic and Histogenetic Significance of PAX2 and PAX8 Expression In Three Uncommon Tumors of
the Male Lower Urogenital Tract . Stephen M. Lagana, MD, Guo-Xia Tong, MD, PhD, Lorenzo Memeo, MD,
Cristina Colarossi, MD, Mahesh Mansukhani, MD, Hanina Hibshoosh, MD, and Kathleen O'Toole, MD.
American Society of Clinical Pathology Annual Metting, October 2010, San Francisco, CA,

Glucose Transporter-1 Immunostaining Differentlates Intestinal Metaplasia With Dysplasia From
Adenocarcinoma In Barrett Esophagus. Lagana, SM, Remottl F, Remotti H. College of American
Pathologists Annual Meeting. September 2010, Chicago, IL.

Utility of Glucose Transporter 1 In the differentiation of peritoneal and pleural mesothelioma from non-
malignant mesothellum.

SM Lagana, RN Taub and AC Borczuk. United States and Canadian Academy of Pathology 99th Annual
Meeting. March 23 20:0, Washington, D.C.

A Mutation In the Glycerol-3-Phosphate Dehydrogenase 1-Llke Gene (GPD1L) Causes Brugada
Syndrome. Barry London, MD, PhD, Shamarendra Sanyal, MD, PhD, Michael Michalec, BS, Arnold E.
Pfahni, MD, PhD, Lijuan L. Shang, PhD, Laurie Kerchner, BS, Stephen Lagana, BA, Ryan G. Aleong, MD,
Haider Mehdi, PhD, Rebecca Gutmann, RN, BSN, Raul Weiss, MD and Samuel C. Dudley, Jr., MD, PhD.
Heart Rhythm Society, Boston MA, May 3, 2006.

3D Kinematic Analysis of Antennular Movements of Carlbbean Spiny Lobster (Panullrus argus) In
Response to Food Odorants.
Stephen M. Lagana, Peter C. Daniel, PhD. Colonial Academic Association annual meeting, Spring 2004

Invited lectures:

Optimal Immunohistochemical Evaluation of Primary Liver Tumors. Liver evening specialty session.
United States and Canadian Academy of Pathology- 2017 Annual Meeting. San Antonio, TX

Villous Atrophy Unrelated to Gluten. Intestinal Immune Based Inflammatory Diseases Symposium.
March 8, 2013. Columbia University Faculty House. NY, NY.

The Duodenal Microbiome in Refractory Celiac Disease, Type 1. Cellac Disease Center Research
Conference. March 1, 2015

Angiotensin receptor blockers other than olmesartan are not associated with histologic evidence of
duodenitis. Cellac Disease Center Research Conference. February 1, 2014

PROFESSIONAL MEMBERSHIPS AND ACTIVITIES

 

* College of American Pathologists 2008-present

© Professional Affairs Committee, Junior Member (January 201.0-December 2014). Junior
member of national committee tasked with addressing challenges to the specialty of
pathology. Specific concerns include ending abusive self-referral practices, finding
innovative ways to deliver the most value to patients and clinicians through
optimization of pathology reports and information management systems, private sector
advocacy, and the role of the pathologist in accountable care organizations (ACO).

o Spokesperson, as a CAP spokesperson, | am tasked with raising awareness of the

 

Stephen M. Lagana, MD _

 
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profession of pathology while disseminating useful healthcare related information to
the public. | have had radio interviews on subjects ranging from colon cancer to Pap
tests which have been broadcast on hundreds of radio stations including the Associated
Press Radio Network and Armed Forces Radio.

e Roger C. Haggitt Gastrointestinal Pathology Society (GIPS) 2015-present

# American Gastroenterological Association (AGA) 2015-present

* New York Pathological Society 2013-present
a Member of Planning Committee (selecting topics, inviting Euest speakers)
o Director of soctal media outreach via @NYPathSociety twitter handle

» United States and Canadian Academy of Pathology 2010-present

« Peer reviewer- Histopathology, BMC Gastroenterology, BMC Cancer, Oncotarget, Journal of
Clinical Pathology

 

Stephen M. Lagana, MD

 
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EXHIBIT 2
Case 1:15-md-02606-RBK-JS Document 1106-2 Filed 04/21/17 Page 21 of 27 PagelD: 16213

MAYO
CLINIC

ey

Severe Spruelike Enteropathy Associated With
Olmesartan

ORIGINAL ARTICLE

Alberto Rubio-Tapia, MD; Margot L. Herman, MD; Jonas F. Ludvigsson, MD, PhD;
Darlene G. Kelly, MD, PhD; Thomas F. Mangan, MD; Tsung-Teh Wu, MD, PhD;
and Joseph A. Murray, MD

Abstract

Objective: To report the response to discontinuation of olmesartan, an angiotensin II receptor antagonist commonly
prescribed for treatment of hypertension, in patients with unexplained severe spruelike enteropathy.

Patients and Methods: All 22 patients included in this report were seen at Mayo Clinic in Rochester, Minnesota,
between August 1, 2008, and August 1, 2011, for evaluation of unexplained chronic diarrhea and enteropathy while
taking olmesartan. Celiac disease was ruled out in all cases, To be included in the study, the patients also had to have
clinical improvement after suspension of olmesartan,

Results: The 22 patients (13 women) had a median age of 69.5 years (range, 47-81 years). Most patients were taking
40 mg/d of olmesartan (range, 10-40 mg/d), The clinical presentation was of chronic diarrhea and weight loss (median,
18 kg; range, 2.5-57 kg), which required hospitalization in 14 patients (649%). Intestinal biopsies showed both villous
atrophy and variable degrees of mucosal inflammation in 15 patients, and marked subepithelial collagen deposition
(collagenous sprue) in 7, Tissue transglutaminase antibodies were not detected. A gluten-free diet was not helpful.
Collagenous or lymphocytic gastritis was documented in 7 patients, and microscopic colitis was documented in 5
patients. Clinical response, with a mean weight gain of 12.2 kg, was demonstrated in all cases. Histologic recovery or
improvement of the duodenum alter discontinuation of olmesartan was confirmed in all 18 patients who underwent
follow-up biopsies.

Conclusion: Olmesartan may be associated with a severe form of spruelike enteropathy, Clinical response and histo-

logic recovery are expected after suspension of the drug.
© 2012 Mayo Foundation for Medical Education and Research @ Mayo Clin Proc. 2012:87(8):732-738

Fram the Division of Gas-
troenterology and Hepatal-
ogy (AR-T, JFL, BGK,
TAM, JAM), Gepartment

of Intemal Medicine (M.LH.),

and Departenent of Labora-
tary Medicine and Pathology
(7.-T.\W4), Maye. Clinie,
Rochester, MN; Clinical Epi-
demiology Unit, Department
of Medicine, Karolinska Uni-
versity Hospital and Karalin-
ska Institutet, Stackholm,
Sweden (FL); and Depart-
ment of Pediatrics, Orebro
University Hospital, Orebre
University, Grebro, Sweden
(LAL).

 

Imesartan is one of several angiotensin IT
C) receptor antagonists used for manage-

ment of hypertension since 2002,' Diar-
thea is a common adverse effect of many medica-
tions, although the mechanisms underlying diarrhea
remain unclear in most cases. Enteropathy as a cause
of drug-induced diarrhea has been reported previ-
ously with the use of azathioprine and mycopheno-
late mofetil.’ | We first suspected the possible con-
nection between enteropathy and olmesartan when
2 consecutive patients referred to our institution for
evaluation of presumed refractory celiac disease re-
ported unexplained clinical improvement during
hospitalization but prompt relapse following hospi-
tal discharge. They asked if the disease course could
have been due to their hypertensive medications,
which were withheld on hospitalization because of
hypotension. At the same time, we were studying a
cohort of patients with collagenous sprue and clis-
covered olmesartan use in one-third of the patients
with a recent diagnosis of the disorder.’ As addi-
tional patients were identified with similar clinical
features (eg, chronic diarrhea, weight loss, unex-
plained spruclike enteropathy with or without ab-
normal subepithelial collagen deposition, negative

 

celiac serology, and lack of response to gluten exelu-
sion), a perceived association between these features
and olmesartan evolved. [t also became clear that
these patients were unlikely to have celiac disease, as
all lacked IgA tissue transglutaminase antibodies
and had never responded to a gluten-free diet. The
clinical observation of improvement of gastrointes-
tinal symptoms and subsequent demonstration of
histologic recovery after olmesartan withdrawal
prompted us to advise our patients with unex-
plained spruelike enteropathy to discontinue ol-
mesartan. We reported our observation to US Food
and Drug Administration officials and submitted re-
ports using the MedWatch system.

In this article, we describe the clinical manifes-
tations in 22 patients with unexplained spruelike
enteropathy that improved clinically after discontin-
uation of olmesartan.

PATIENTS AND METHODS

This study was approved by the Mayo Clinic Insti-
tutional Review Board. Patients were considered for
inclusion in the study if they had chronic diarrhea
(>4 weeks) while taking olmesartan and met 2 ad-
ditional criteria. First, the cause of their enteropathy

732 = 4 MayoClin Proc. m August 2012:87(8).732-738 m htp.//dx.doi.org/10.1016/]. mayocp.2012.04,.003 = © 2012 Mayo Foundation for Medical Education and Research

www. mayoclinicproceedings.org
OLMESARTAN AND ENTEROPATHY

could not be established after a systematic diagnos-
lic evaluation that included investigation for disor-
ders associated with nonresponsive celiac disease as
previously reported by our group.” Second, they
had to improve clinically after discontinuation of
olmesartan, Most of these patients had undergone
extensive evaluation by their referring physicians
and had had several therapeutic trials, without ben-
efit. The electronic medical records of 24 such pa-
tients seen at Mayo Clinic in Rochester, Minnesota,
between August 1, 2008, and August 1, 2011, were
reviewed by one physician (M.L.H.). Two of the 24
patients were excluded from the study, 1 who had
tropical sprue and 1 who improved clinically and
histologically with oral budesonide before suspen-
sion of olmesartan,

Data Abstraction

Clinical and laboratory data were abstracted from
the medical record. Only data that reflected condi-
tions that existed before suspension of olmesartan
were included as baseline data. We defined catego-
ries of body weight using body mass index and
World Health Organization criteria.’ Anemia was
defined in women as a hemoglobin level of less than
12 g/dL (to convert to g/L, multiply by 10) and in
men as a hemoglobin level of less than 13.5 g/dL.
Hypoalbuminemia was defined as an albumin value
lower than 3.5 g/dL (to convert to g/L, multiply by
10). HLA-DQ typing,” celiac disease serology (tissue
transglutaminase antibodies or deamidated gliadin
peptide antibodies by enzyme-linked immunosor-
bent assay and endomysial antibodies on monkey
esophagus by indirect immunofluorescence),’ |!
and assessment of response to a gluten-free diet
were investigated. Anti-enterocyte antibodies were
tested using primate intestine by indirect immuno-
fluorescence and were performed at The Children's
Hospital of Philadelphia, as reported by Akram et
al.'’ Severe enteropathy was defined by the presence
of at least one of the following criteria: (1) need for
hospitalization because of severe dehydration, elec-
trolyte imbalance, and/or acute renal failure, (2) need for
total parenteral nutrition, and (3) weight loss of
more than 10 kg.

Histopathology

Pathology material (biopsy samples [rom the pastro-
intestinal tract) was reviewed by one of the authors
(T.-T.W.). The number of intraepithelial lympho-
cytes per 100 epithelial cells, degree of villous atro-
phy graded with the modified Marsh classifica-
tion,’ * presence of subepithelial collagen, degree of
lamina propria inflammation, and presence of acute
inflammation were assessed, The presence of aber-
rant or clonal intraepithelial lymphocytes was inves-

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tigated by CD3 and CD8 immunostaining!’ and
polymerase chain reaction, ° respectively. When
multiple small bowel biopsies were performed as
part of the diagnostic evaluation and before with-
drawal of the drug, the baseline biopsy was consid-
ered to be the small bowel biopsy performed closest
to the date of suspension of olmesartan. Follow-up
biopsies were defined as biopsies performed at least
30 days after the date of suspension of olmesartan,
Other disorders of the gastrointestinal tract (when
present) were diagnosed using accepted pathologic
criteria (eg, microscopic colitis).'"

Outcomes After Suspension of Olmesartan

Clinical response was defined as the resolution of di-
atrhea. Weight gain was considered a positive find-
ing. Remission required both a clinical response and
confirmation by normal findings on intestinal bi-
opsy during follow-up. All patients who had been
ona gluten-free diet were followed up after reintro-
duction of gluten and withdrawal of corticosteroids,

Medication Use

We reviewed the medication history of all patients,
including the duration of treatment, dosage, and re-
sponse of diarrhea to a trial of olmesartan with-
drawal. Alternative antihypertensive drugs used af-
ter suspension of olmesartan are reported.

Statistical Analyses
Data were summarized using descriptive statistics,
including total numbers and percentages for cate-
gorical variables and median or mean (range) for
continuous variables.

RESULTS

The 22 patients (13 women) had a median age of
69.5 years (range, 47-81 years), Twenty-one of the
patients were non-Hispanic white, and 1 patient was
black, Patients were residents of 16 different US
states (Table 1).

The most frequent clinical diagnoses at time of
referral were nonresponsive/relractory celiac disease
(n=10) and unexplained sprue (n=6). Most pa-
tients were taking 40 mg/d of olmesartan (range,
10-40 mg/d) for several months or years before the
onset of diarrhea, Detailed information about the
duration of exposure to olmesartan before onset of
diarrhea was available in the medical record in 14
patients (64%), Among these, the mean duration
was 3.1 years (range, 0.5-7 years). An additional 5
patients were taking olmesartan for at least 1 year
before the onset of symptoms. Information about
duration of exposure to olmesartan before onset of
diarrhea was not available in 3 patients.

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TABLE 1. Demographic Characteristics, Outcome, and Alternative Antihypertensive Drugs Used After Suspension of Olmesartan in 22
Patients With Spruelike Enteropathy i )

Patient No/
sex/age (y) Weight loss (kg) Outcome after suspension of olmesartan" Alternative antihypertensive drug
i \/F/59 I4 Remission : - Metoprolol ,

DIFIG2 i Clinical response None
MF72 3| Remission, weight gain (13.3 kg) Bisoprostol-hydrochlorothiazide
4/Mi6e® 18 Remission, weight gain (11 kg) Metoprolol
5/M/8 | 25 Remission, weight loss (4.1 lee) Lisinopnil, metopralol
6/M/é4 \4 Clinical respanse Amlodipine
7/FI65 UI Remission, weight gain (4.2 kg) Amledipine, hydrochlorothiazide
B/MIT6 \2 Remission, weight gain (13.4 kg) Amlodipine, hydrochlorothiazide
9IM/64 20.5 Remission, weight gain (15.7 kg) Amlodipine, hydrachlorothiazide
|O/FI72 30 Remission, weight gain (28 ke) Amlodipine, atenolol, hydrochlorothiazide
| M74 15 Clinical response Hydrachlorothiazide
| 2/M/58 57 Remission, weight gain (23.4 kg) Amlodipine, metopralol
| S/FI77 29 Remission, weight gain (9.7 kg) Atenolal, hydrochlorothiazide
\AfF/76 7 Remission, weight gain (2.9 kg) Hydrochlorothiazide
| 5/M/68 18 Remissian, weight gain (14.9 kg) Metoproial
| 6/Ff7 | a Remission, weight gain (11.9 kg) Triamterene, hydrochlorathiazide
| 7/FI66" 205 Clinical response, weight gain (13.4 kg) Spironolactone, carvedilol
| B/F/64° 50 Clinical response, weight gain (4 kg) Amlodipine
|SIFF75 4| Remission None
20/hY47 32 Remission, weight gain (13.9 lee) Metapralal, amlodipine, doxazosin
2U/FI7 | 18 Remission, weight gain (10.2 kg) Atenolol, hydralazine
22/F/74 40 Rernission, weight gain (6.3 kg) None

“Weight change (defined by weight at diagnosis minus weight at last follow-up visit) s provided when avallable In the medical record,

“ase previously published.
* Non-Hispanic black,

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Clinical Manifestations

Diarrhea had been present for a median of 19.2
months (range, 3-53 months) before suspension of
the drug. At the time of presentation, all patients had
diarrhea and weight loss (median weight loss, 18 kg:
range, 2.5-57 kg). Nausea and vomiting were pres-
ent in 15 patients (68%), abdominal pain in 11
(50%), bloating in 9 (419), and fatigue in 15 (68%).
The onset of diarrhea was sudden in 9 patients, The
stool frequency was extremely abnormal, with a me-
dian of 6 evacuations per day (range, 3-42 evacua-
tions per day). Among 8 patients with timed stool
collection, the mean stool weight was 933.1 9/24 h
(range, 225-3225 g/24 h), and mean fecal fat was
28.3 g/24 h (range, 8-50 g/24 h), Although timed
stool weight was not investigated in all patients, 14
patients (64%) required hospitalization because of
severe dehydration (4 patients had acute renal fail-
ure), Total parenteral nutrition was necessary in 4
pauents. At the time of the first visit at Mayo Clinic,
11 of the patients had normal weight, 6 were under-

weight, 4+ were overweight, and 1 was obese. All but
one patient (patient 16) met criteria for severe
enteropathy,

Laboratory Findings
Results of IgA tissue transglutaminase antibody test-
ing were negative in all patients. IgA endomysial
antibody results were negative in all 9 patients who
underwent testing. HLA-DQ typing was performed
in 21 patients: DQ2 was present in 15 patients, DO8
in 2 patients, and neither DQ2 nor DQS8 in 4 pa-
tients. Anti-enterocyte antibody testing was done in
19 patients (86%), and results were negative in 16
(including 7 patients who had a positive nonspecific
nuclear pattern of unknown clinical significance)
and positive with a linear/apical pattern in 3.
Fourteen patients (64%) had normocytic nor-
mochromic anemia (2 had elevated red blood cell
distribution width suggesting anisocytosis); the
lowest hemoglobin level was 9.3 g/dL. Ten patients
(45%) had hypoalbuminemia; the lowest albumin

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level was 2 g/dL. Twelve patients (355%) had one
(n=3) or multiple (n=9) electrolyte abnormalities,
Zinc deficiency was documented in 7 patients,

Small bowel bacterial overgrowth was con-
firmed by culture of duodenal aspirate (> 10° colo-
ny-forming units per milliliter) in 12 patients at
some point during clinical evolution. A trial of oral
antibiotics was used in 10 patients without clinical
benefit (rifaximin in 5, tetracycline in 3, ciprofloxa-
cin in 1, and ciprofloxacin-metronidazole in 1). An
additional 2 patients received no therapy for small
bowel bacterial overgrowth.

Histologic Findings

In all patients, baseline intestinal biopsies demon-
strated villous atrophy with variable degrees of mu-
cosal inflammation (Table 2). Total villous atrophy
was observed in 15 patients and partial villous atro-
phy in 7 patients. A thick band of subepithelial col-
lagen deposition (collagenous sprue) was seen in 7
patients (2 cases had been reported previously’).
Active/acute inflammation was observed in 15 pa-
tients, ancl increased intraepithelial lymphocytes
were found in 14 patients. Aberrant (or clonal) in-
tracpithelial lymphocytes were not detected among
the 12 patients tested.

Colonoscopy with random colonic biopsies was
performed in 13 patients (59%). Microscopic colitis
was found in 5 patients (2 had lymphocytic colitis
and 3 had collagenous colitis),

Biopsies of the stomach were available in 14
patients (64%). Lymphocytic gastritis was diag-
nosed in 5 patients and collagenous gastritis in 2
patients: Chronic gastritis was diagnosed im an addi-
tional 7 patients (1 had Helicobacter pylon infection),

Treatment and Subsequent Course

Most of the patients in our study had undergone
several therapeutic trials, without apparent clinical
benefit, before referral to Mayo Clinic, including the
use of a gluten-free diet for months (n=20), sys-
temic corticosteroids and/or budesonide (n=20),
opiaid-derived antidiarrheal agents (most often lo-
peramide) (n=10), pancreatic enzymes (n=4), bile
acid sequestrant (n=4), metronidazole (n=4), aza-
thioprine (n=3), and octreotide (n=3).

Clinical response was observed in all 22 patients
after suspension of olmesartan. Besides tapering of
corticosteroids, no medication was needed to con-
trol diarrhea after clinical response was achieved
with suspension of the drug. Patients following a
gluten-free diet were advised to abandon the diet
immediately if they lacked the celiac susceptibiliry
Benotypes or to gradually reintroduce gluten if they
were HLA-DQ2 or DQ8 positive. No patient had
recutrence of symptoms after restarting a gluten-

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containing diet. Follow-up body weight alter sus-
pension of olmesartan was available in 17 patients;
16 had weight gain, with a mean weight gain of 12.2
kg (range, 2.9-28 kg), and 1 patient (patient 5) who
had edema at diagnosis lost 4,1 kg during follow-up
despite clinical remission.

At the time of this report, follow-up intestinal
biopsies have been performed in 18 patients (82%)
after a mean of 242.3 days (range, 54-707 days)
from the date of suspension of olmesartan. Histo-
logic recovery of the duodenum was documented in
17 patients (Figure). Focal partial villous atrophy
was observed in | case (patient 2) on a follow-up
duodenal biopsy obtained 54 days after suspension
of olmesartan. Follow-up gastric biopsies were per-
formed at the same time as repeated biopsy of the
duodenum in 6 of the 7 patients with either lympho-
cytic or collagenous gastritis (no gastric biopsy re-
sults were available for patient 11). Follow-up gas-
tric biopsies showed normal mucosa in 4 patients
and nonspecific mild chronic gastritis in 2 patients
(patients 20 and 22). Follow-up colonoscopies with
biopsies of the colon were not performed in the 5
patients with microscopic colitis,

DISCUSSION

We describe a group of patients with unexplained
severe spruelike enteropathy while taking olmesar-
tan. We also provide evidence of both clinical and
histologic improvement after suspension of al-
mesartan. Celiac disease was excluded by conven-
tional methods of serology and the absence of clin-
ical response to a gluten-free diet.’ Other less common
enteropathies were excluded (Table 3).

We acknowledge that this case series lacks all
the information necessary to prove causality but
rather reflects an association. No deliberate rechal-
lenge test with olmesartan was unclertaken because
of the life-threatening nature of the syndrome, al-
though 2 patients reported anecdotally that their
symptoms had worsened when they restarted ol-
mesartan before the potential association was recog-
nized, and 2 patients experienced improvement
when olmesartan was stopped when they were hos-
pitalized (for dehydration and hypotension) and
worsened in the weeks following discharge and re-
introduction of olmesartan, Resolution of the pre-
senting symptoms and subsequent histologic im-
provement after suspension of olmesartan, in the
absence of clinical evidence of other diseases assaci-
ated with enteropathy, suggest that the association is
not likely to be due to chance.

Pathologic findings in the duodenal biopsy can
mimic celiac disease or collagenous sprue. Clinico-
pathologic correlation is advised to confirm the di-
agnosis of olmesartan-associated enteropathy. Pathologic
evidence of involvement of other organs (eg, the

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FIGURE. Photomicrographs showing revers-
ible spruelike enteropathy associated with ol-
mesartan (hematoxylin-eosin, original magni-
fication * 100). A, Duodenal biopsy specimen
obtained while the patient was taking alm-
esartan shows total villous atrophy and intra-
epithelial lymphocytosis. B, Biopsy specimen
obtained 6 months after withdrawal of olm-
esartan and initiation of a glulen-containing diet
shows recovery of villi on duodenal mucosa.

stomach and colon) suggests that this disorder may
affect the entire gastrointestinal tract. We provide
evidence of resolution of inflammation and/or fibro-
sis in the stomach and duodenum alter suspension
of olmesartan, implying that these changes are asso-
ciated with the use of olmesartan. Even though fol-
low-up colonoscopies were not performed in the 5
patients with documented microscopic colitis, clin-
ical remission was achieved in all of these patients, a
very unlikely outcome in the presence of persistent
inflammation or fibrosis of the colon. Recovery of
duodenal mucosa in a relatively short time (median
of 8 months from suspension of olmesartan to fal-
low-up biopsies) is a relevant clinical observation
because mucosal recovery in other small bowel dis-
orders, such as celiac disease, may take years to oc-
cur despite adherence to a gluten-free diet, espe-
cially in older adults.'"'”

 

Finding small bowel bacterial overgrowth in 12
patients is intriguing and consistent with prior ab-
servations of association of small bowel bacterial
overgrowth and enteropathy in symptomatic pa-
tients with celiac disease.“~' The reason for this
association is unknown. Thus, although small bowel
bacterial overgrowth is a well-recognized cause of
chronie diarrhea in the right clinical setting,”~ in this
series, the lack of clinical response to oral antibiotics
suggests that gastrointestinal symptoms are not ex-
plained by the effects of an increased number of
bacteria in the small bowel.

The mechanisms underlying olmesartan-associ-
ated enteropathy are unknown. The long delay
between onset of olmesartan therapy and the devel-
opment of diarrhea (and enteropathy) suggests cell-
mediated immunity damage rather than type I hy-
persensitivity. Recently, angiotensin receptor blockers
have been suggested to have inhibitory effects on
transforming growth factor @ action.’ '* Trans-
forming growth factor f is crucially important in the
maintenance of gut immune homeostasis.” ** Ol-
mesartan is an orally administrated prodrug (olm-
esartan medoxomil) that is rapidly metabolized to
the active component (olmesartan) by esterases in
the gastrointestinal mucosa, portal blood, and
liver.’’ Nevertheless, the possible role of transform-
ing growth factor B inhibition in olmesartan-associ-
ated enteropathy is a question that requires investi-
gation. We do not know if other angiotensin II
receptor blockers can be associated with a similar
form of enteropathy, but active investigation for
similar cases among patients using other drugs of
the same class is under way. All our patients with
olmesartan-associated enteropathy received antihy-
pertensive drugs from a different class after suspen-
sion of olmesartan. HLA-DQ2 was present in 68% of
patients with olmesartan-associated enteropathy, a
prevalence higher than the 25% to 30% expected for
the general population," suggesting that perhaps

   

Gastrointestinal symptoms (eg, chronic diarrhea,
weight loss, steatorrhea)

Negative IgA tissue transglutaminase antibodies (ar
endomysial antibodies)

Evidence of enteropathy (villous atrophy) with or
without collagen deposition or intraepithelial
lymphacytosis

Lack of clinical response to gluten exclusion

Exclusian of other causes of enteropathy (ag, celiac
disease)

Evidence of clinical and histologic improvernent after
suspension of olmesartan

 

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the presence of HLA-DQ2 may increase the risk of
immune-mediated damage in these patients. This may
be another example of drug-associated enteropathy of
which the meclical community should be aware and
could result in the identification of several more cases.

CONCLUSION

We report a unique case series to support a novel
association between severe spruelike enteropathy
and olmesartan. Physicians who encounter patients
with diarrheal syndromes should consider medica-
tions as a cause, although the potential role for ol-
mesartan had not been considered in these patients
by any of the physicians prescribing the medications
or treating the diarrheal illness.

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